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Exhibit Guide pt. 5

OUHSC Admissions and Records — FERPA — Correction of Education Records
OUHSC Admissions and Records — FERPA — Description of School Officials

Plaintiff's Phone Service Provider Call Log Record with State of Oklahoma JUNE 2024
pt. |

Plaintiffs Phone Service Provider Call Log Record with State of Oklahoma JUNE 2024
pt. 2

Respectfully submitted,
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Pro Se

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Disclosure of Education Records
1. Ta school officiats who have a legitimate educational interest in the records. Schoc! officials are defined as follows:
|. A person employed by the University in an administrative, supervisory, academic or research, or support staff
position, including law enforcement personnel and health or medical staff.
li, A person serving on the Board of Regents.
ii. A person or company under contract To the University to perform a service or function, instead of using
University employees or officials (such as an attorney, auditer or collection agent).

iv. A person who is assisting another schoo! official in performing his/her tasks including but not limited to. a
student serving on an official committee, such as a disciplinary ar grievance commitee.

A school official has a legitimate educational interest if the official is:
i. Performing a task that is necessary to fulfill his or her professional responsibilities for the University
it. Performing a task related to a student's education
iit. Performing a task related to the discipline of a student

lv. Providing a service or benefit relating to the student or student's family, such as health care, counseling, job
placement, scholarship, cr financial aid

v. Maintaining the safety and security of the campus

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https://admissions.ouhse.edu/FERPA

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Correction of Education Records

Students have the right to challenge and request amendment of the contents of recores that they believe are inaccurate,
misleading or in violation of their privacy rights. Following are the procecures for the correction of records:

1. A student must ask the appropriate University official of the University of Oklahoma to amend a record. (Type of
records, location and custodians are listed later in this policy.) In se doing, the student should identify the part of the
record to be amended and specify why the student believes it is inaccurate, misleading, or in violation of his or her
privacy rights.

2. Within a reasonable period of time, the University will either comaly with the request or not comply. If t decides not to
comply, the University will notify the student of the decision and advise the student of bis or her right to a hearing to
chalienge the information believed to be inaccurate. misteading. or in violation of the student's privacy rights.

3. Upen request. the University wall arrange for hearing anc notify the student, reasonably in advance of the date, place
and time of the hearing.

4. The hearing will be conducted by the Vice Provost for Acadenvc Affairs. The student shall be afforded a full and fair
opportunity to present evidence relevant to the issues raised in the original request to amend the student's education
records, The student may be assisted by one or more individuals, including an attorney retained at his or her expense.
The University may be represented by University Lega! Coursel,

5. The University will prepare a written decision based solely on the evidence presented at the hearing. The decision voll
include a summary of the evidence presented and the reasons for the decision.

6. if the University decides that the information in the it’s record is inaccurate, misleading. cr in violation of the
student's right of privacy. it will amend the record and notify the student. in writing. that the record has been amended.

7. If the University decides that the challenged information ts not inaccurate. misieading, or in viclation of the student's
right of privacy, it will notify the student that he or she has a right to place in the record a statement commenting on the
t ged ir jon and/or a setting forth reasons for disagreeing with the decision.

&. The decision shall be in writing, be based solely on the evidence presented at tre hearing and delivered to af parties
concerned who have a legitumate educational interest.

&. The statement from the student will be maintained as a part of the student's education records as lang as the contested
portion is maintained. If the University discloses the c ¢ portion of the record, it must also disclose the student's
statement.

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Voicemail

06/06/24 at 02:02:00 PM CDT

$0.00

Type

Nature of Call
Number Called
Calling Number
Call Date

Call Time
Timezone

Call Duration

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Voicemail

Local
Reger

14055224440

06/06/24

02:02:00 PM

US/Central

Omin 54sec

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Outgoing Call
06/07/24 at 12:20:10 PM CDT

$0.00

Type

Nature of Call
Number Called
Calling Number
Call Date

Call Time
Timezone

Call Duration

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Outgoing Call
Local
14055224440
19182826493
06/07/24
12:20:10 PM
US/Central

Amin 31sec

